           Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 1 of 83
                                                                                                                                  EXHIBIT B
                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    02/03/2021
                                                                                                    CT Log Number 538997221
TO:         Kim Lundy Service Of Process
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Hurtado Priscilla, Pltf. vs. Walmart Stores East LP, etc., et al., Dfts.
                                                  Name discrepancy noted.
DOCUMENT(S) SERVED:                               Entry(s), Summons, Complaint, Certificate(s), First Interrogatories, First Request(s)
COURT/AGENCY:                                     Forsyth County - State Court, GA
                                                  Case # 20SC1653A
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall - 09/02/2019 - 5010 Steiner Way, Grovetown
ON WHOM PROCESS WAS SERVED:                       The Corporation Company (FL), Cumming, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 02/03/2021 at 12:54
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         Within 30 days after service, exclusive of the day of service (Document(s) may
                                                  contain additional answer dates)
ATTORNEY(S) / SENDER(S):                          Johnny Phillips
                                                  Law Office of Johnny Phillips, PC
                                                  12 Jackson Street
                                                  Newnan, GA 30263
                                                  404-487-0184
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 02/04/2021, Expected Purge Date:
                                                  02/09/2021

                                                  Image SOP

                                                  Email Notification, Kim Lundy Service Of Process ctlawsuits@walmartlegal.com

REGISTERED AGENT ADDRESS:                         The Corporation Company (FL)
                                                  112 North Main Street
                                                  Cumming, GA 30040
                                                  877-564-7529
                                                  MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / DL
                    .SHERIFF'S ENTRYCase   1:21-cv-05196-SCJ                       Document 1-2 Filed 12/21/21 Page CLYDE
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                                                                                                                                         EXHIBIT      B
                          •_"" t                                                                                                    co.. COVINGTON, GA 30015
                                    OF SERVICE                                          SC-85-2
                            f.
                                                                                                            Superior Court           0     Magistrate Court
                                              20 5C 463-/1
                                                         4                                                  State Court              0         Probate Court
                     CivitAction No.
                                                                                                            Juvenile Court           0
                                                         /
                     Date Filed                                                                             Georgia,                                         COUNTY
                                                                                                                    /


                     Attorney's Address

                                                                                                                                                                   Plaintiff
                                                                                                                                         VS.


                     Name and Address of Party to be Served.

                                                                                                                                                                Defendant




                                                                                                                                                                 Garnishee
                                                                              SHERIFF'S ENTRY OF SERVICE
 PERSONAL




                     I have this day served the defendant                                                                                              personally with a copy
               • of the within action and summons.




                     I have this day served the defendant                                                                                                        by leaving a
 NOTORIOUS




                     copy of the action and summons at his most notorious place of abode in this County.

                O    Delivered same into hands of                                                                                                       described as follows:
                     age, about                years; weight                  pounds; height, about                     feet and         inches, domiciled at the residence of
                     defendant.
 CORDORATION




                     Served the defendant              C'C'( 9aCki'ho-r)                      Ocit n Li                                                         a corporation
                NI\ by leaving a copy of the within action and summons with              (NA-v"       krAt ieCt-'
                1—!•/
                      in charge of the office and place of doing business of 3aid Corporation in this County.




'-
 <    I have this day served the above styled affidavit and summons on the defendant(3) by posting a copy of the 301DC to the door of the premises designated iii said
2     affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an envelope properly addressed to the
otS 0
      defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
0
•     place stated in the summons.




co
-   Diligent search made and defendant
• 0 not to be found in the jurisdiction of this Court.
0


                     This         day of                            ,20
                                                                                                                                   *AAA,0
                                                                                                                                                                   DEPUTY




                    SHERIFF DOCKET                   PAGE


                                                                     WHITE-CLERK    CANARY-PLAINTIFF   PINK-DEFENDANT
Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 3 of 83
                                                                                               EXHIBIT B
                                                                                                   EFILED IN OFFICE
                   STATE COURT OF FORSYTH COUNTY                                                CLERK OF STATE COURT
                                                                                              FOIRSYTH COUNTY, GEORGIA
                          STATE OF GEORGIA
                                                                                                20SC-1653-A
                                                                                         J udge Leslie Abernathy-Maddox
                                                                                              DEC 28, 2020 05:26 PM


                                                                                                         For:ggc?„,raeTr;r,t


                        CIVIL ACTION NUMBER 20SC-1653-A
   Hurtado, Priscilla

   PLAINTIFF
                                                 VS.
   Walmart Stores East LP, DBA Walmart
   Supercenter #5735
   XYZ Corporation

   DEFENDANTS


                                             SUMMONS
   TO: WALMART STORES EAST LP

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiffs attorney, whose name and address is:

                              Johnny Phillips
                              Law Office of Johnny Phillips
                              12 Jackson ST
                              NEWNAN,Georgia 30263

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If this action pertains to. a Protective _
   Order;the Answer is to be filed and serv&I on or before the scheduled hearing date attached.
   If you fail to do so,judgment by default will be taken against you for the relief demanded in
   the complaint.

   This 28th day of December, 2020.
                                                       Clerk of State Court




                                                                         Greg G. Allen, Clerk
                                                                     Forsyth County, Georgia




                                                                                           Page 1 of 1
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                                                                                     EXHIBIT B
                                                                                             EFILED IN OFFICE
                                                                                          CLERK OF STATE COURT
                                                                                        FORSYTH COUNTY, GEORGIA
                                                                                         20SC-1653-A
                       IN THE STATE COURT OF FORSYTH COUNTY                        J udge Leslie Abernathy-Maddox
                                                                                        DEC 28, 2020 05:26 PM
                                  STATE OF GEORGIA

      PRISCILLA 1-TURTADO,                                                                         For:trt:38,,;,.#4a.3,Tr=

              Plaintiff,
                                                     CIVIL ACTION
      VS.

                                                     FILE NO.:
      WALMART STORES EAST LP d/b/a
      WALMART SUPERCENTER #5735,
                                                            JURY TRIAL DEMANDED
      JOHN DOE & XYZ CORPORATION

              Defendant.

                                 COMPLAINT FOR DAMAGES

        COMES NOW PRISCILLA HURTADO,Plaintiff in the above styled action and files

 this Complaint for Damages and shows the Court as follows:



        Defendant WALMART STORES EAST,LP d/b/a WALMART SUPERCENTER #5735

(hereinafter,"Walmart") is a foreign limited partnership existing under the laws of Delaware,
                                            _
 whose prin-cipil offiCe—address is 708 SW 8th ST Bentonville, AR 72716, who, at all times

 relevant to this action, owned and/or operated the premises upon which PRISCILLA HURTADO

(hereinafter, "Plaintiff') sustained the injuries which form the basis of this action, and

 maintained an office and place of doing business in Columbia County, GA,located at 5010

 Steiner Way, Grovetown, and is subject to the jurisdiction of this Court as a joint tortfeasor.

Defendant Walmart may be served through its registered agent, The Corporation Company, at

 1 12 North Main Street, Cumming,GA 30040. Venue is proper.

                                                   2.

        Defendant XYZ Corporation (hereinafter,"XYZ Corporation") occupied the position of

the unknown vendor of the premises where the subject incident occurred, and at all times

relevant to this action, was acting within the scope of employment for defendant Walmart on the
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                                                                                  EXHIBIT B



premises where Plaintiff sustained the injuries which form the basis of this action and whose acts

and/or omissions are believed to have contributed to Plaintiff's claims for damages and is subject

to the jurisdiction and venue of this Court.

                                                  3.

       Defendant JOHN DOE,(hereinafter,"Doe") is an unidentified individual who, at all

times relevant to this action, was acting within the scope of employment for Defendant Walmart

and/or XYZ Corporation on the premises where Plaintiff sustained the injuries which form the

basis of this action and whose acts and/or omissions contributed to Plaintiffs damages and is

subject to the jurisdiction and venue of this Court.

                                        BACKGROUND

                                                  4.

       On or about September 2, 2019, Plaintiff was upon the premises of Walmart Supercenter

#5735 (hereinafter,"the store") located at 5010 Steiner Way, Grovetown, a business owned and/or
                                                                  --       —    -             -
                      _                                  —-
-optiated-b)7Defe-ndant Walmart and/or XYZ Corporation, as an invitee.

                                                  5.

       Plaintiff, through no failure to exercise reasonable care for her own safety, was injured as

a result of negligently stacked and/or improperly stored products, upon information and belief,

water bottles.

                                                  6.

       There were no warning signs in the area where the negligently stacked and/or improperly

stored products were present, and Plaintiff's incident occurred.




                                                                                                 2
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                                                        7.

           Defendant Walmart and/or XYZ Corporation had exclusive ownership, possession and

    control over the store at all times relevant to this action.

                                                        8.

            As a result of Plaintiff's incident, she suffered bodily injury.

                                              COUNT I
                                         PREMISES LIABILITY

                                                        9.

           Plaintiff realleges and incorporates the allegations contained in paragraphs 1 through 8

    above as if fully stated herein.

                                                        10.

           Plaintiff was an invitee on the store premises at the time of the incident.

                                                        1 1.

_          _Defendant Walmart and/or-XYZ Corporation owed a nondelegal5le duty-of-reasonable—

    care in keeping the store premises safe for invitees such as Plaintiff.

                                                        1 2.

           Plaintiff did not know and could not reasonably have learned of the danger posed by the

    negligently stacked and/or improperly stored products without proper notice or warning.

                                                        13.

           Defendant Walmart and/or XYZ Corporation had actual and/or constructive knowledge of

    the existence ofthe hazard,knew or should have known that the presence ofthe negligently stacked

    and/or improperly stored products posed a danger to invitees on the store premises, and should

    have notified or warned invitees about this hazard.



                                                                                                      3
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                                                  14.

        Defendant Walmart and/or XYZ Corporation was negligent in failing to properly inspect

the area where the incident occurred, in failing to remedy the presence of the negligently stacked

and/or improperly stored products, in failing to take adequate measures to protect invitees, and in

failing to keep the premises safe for invitees.

                                    COUNT II
                    LIABILITY OF DEFENDANT XYZ CORPORATION
                                  AND JOHN DOE

                                                  1 5. '

       Plaintiff realleges and incorporates the allegations contained in paragraphs 1 through 14

above as if fully stated herein.

                                                  16.

       At all times relevant to this action, Defendant XYZ Corporation and Defendant Doe had a

duty to reasonably inspect, organize and maintain the area_where-Plaintiff-s-incident-o-ctared.

                                                  1 7.

       Defendant XYZ Corporation and Defendant Doe negligently failed to inspect, organize and

maintain the area where Plaintiff's incident occurred and negligently failed to take reasonable

measures to ensure the safety of invitees on the premises and warn invitees such as Plaintiff of the

presence of negligently stacked and/or improperly stored products at issue.

                                        COUNT III
                                   VICARIOUS LIABILITY

                                                  1 8.

       Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

17 above as if fully restated.



                                                                                                   4
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                                                  19.

        At all times relevant to this action, Defendant XYZ Corporation, Defendant Doe, and other

individuals responsible for inspecting, organizing, and maintaining the area where the Plaintiff's

incident occurred were employed by Defendant Walmart and were acting within the scope of their

employment.

                                                 20.

       Defendant Walmart and/or XYZ Corporation is responsible for the conduct of these

individuals under the doctrine of Respondeat Superior, agency or apparent agency.

                                  COUNT IV
                   NEGLIGENT HIRING,TRAINING & SUPERVISION

                                                 21.

       Plaintiffrealleges and incorporates herein the allegations contained in paragraphs 1 through

20 above as if fully restated.

                                                 22.

       Defendants were negligent in failing to adopt appropriate policies and procedures to make

sure that invitees receive appropriate notice or warning of hazardous conditions on the store

premises and in failing to train their employees concerning safety procedures for maintaining the

store premises.

                                                 23.

       Defendants were negligent in hiring, training and supervising their staff.

                                                 24.

       As a direct and proximate result of the individual and joint negligence of Defendants,

Plaintiff suffered bodily injuries, lost wages, and medical expenses, in an amount TBD.




                                                                                                 5
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      Provider:                                                 Dates of Service:         Amount:

 1.   Advanced Chiropractic & Wellness Center                   TBD

 2.   Doctors Hospital of Augusta                               TBD

 3.   Dwight Eisenhower Army Medical Center                     TBD

 4.   Georgialina Physical Therapy- Grovetown                   TBD

 5.   Transitions of Augusta -psych                             TBD

                                                   25.


       As a direct and proximate result of the Defendants' negligence, Plaintiff is entitled to an

award of special damages for medical expenses and lost wages in an amount to be shown at trial,

and general damages in an amount to be determined by this court against the Defendants, all in an

amount TBD.

       WHEREFORE,Plaintiff prays as follows:

       ) That process be issued, and the Defendants be served with process as provided by law;

       b) That Plaintiff have a trial by jury on all issues so triable;

       c) That Plaintiff have a verdict and judgment against the Defendants to compensate

          Plaintifffor all special, general, compensatory and consequential damages in an amount

           proven at trial to be adequate and just;

       d) That all costs be cast against the Defendants; and

       e) That this Court grant such other and further relief as it deems appropriate.




           Respectfully submitted this 28th day of December, 2020.




                                                                                                6
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                                                                   EXHIBIT B



                                   /s/ Christopher N. Reilly
                                   Johnny G. Phillips
                                    Georgia State Bar No. 382150
                                    Christopher N. Reilly
                                    Georgia State Bar No. 163424
                                    Attorney for Plaintiff



Law Office of Johnny Phillips,PC
12 Jackson Street
Newnan, Georgia 30263
P:(404)487-0184
F:(404)439-1190
Johnny@iohnnvphillipslaw.com
Chris@johnnyphillipslaw.com




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                                                                                  EXHIBIT B
                                                                                        EFILED IN OFFICE
                                                                                      CLERK OF STATE COURT
                                                                                    FORSYTH COUNTY, GEORGIA
                                                                                      20SC-1653-A
                     IN THE STATE COURT OF FORSYTH COUNTY                       Judge Leslie Abernathy-Maddox
                                                                                    DEC 28, 2020 05:26 PM
                                STATE OF GEORGIA
                                                                                             (ILL
                                                                                                   Greg G. Allen, Clerk
     PRISCILLA HURTADO,                                                                        Forsyth County, Georgia




            Plaintiff,                                 CIVIL ACTION
     VS.
                                                      FILE NO.:
     WALMART STORES EAST LP d/b/a
     WALMART SUPERCENTER #5735,
     JOHN DOE & XYZ CORPORATION,

            Defendant.

                RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

       I HEREBY CERTIFY that I have served a copy of Plaintiff's First Interrogatories, Request
to Produce Documents and Request for Admissions to Defendant Walmart Stores East, LP upon
all parties in this matter by including a true and correct copy of same which is to be served
contemporaneously with the complaint and summons by a Deputy of the Sheriff's Office or other
proper Process Server, as approved by the Georgia Civil Practice Act, who is to effectuate service
at the following address:

                                  Walmart Stores East, LP
                                RA: The Corporation Company
                                    1 12 North Main Street
                                     Cumming,GA 30040


       Respectfully submitted this 28th day of December, 2020.


                                                    /s/ Christopher N Reilly
                                                    Christopher N Reilly
                                                    State Bar No. 163424
                                                    Attorney for Plaintiff

LAW OFFICE OF JOHNNY PHILLIPS,PC
12 Jackson Street
Newnan, Georgia 30263
Phone (404)487-0184 I Fax (404)439-1190
chris@johnnyph illipslaw.com
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                                                                                     EXHIBIT B



                      IN THE STATE COURT OF FORSYTH COUNTY

                                       STATE OF GEORGIA
     PRISCILLA HURTADO,

             Plaintiff,                                  CIVIL ACTION
     VS.
                                                         FILE NO.:
     WALMART STORES EAST LP d/b/a
     WALMART SUPERCENTER #5735,
     JOHN DOE & XYZ CORPORATION,

             Defendant.

              PLAINTIFF'S FIRST INTERROGATORIES TO
   DEFENDANT WALMART STORES EAST,LP d/b/a WALMART SUPERCENTER
                               #5735

        COMES NOW, Plaintiff in the above styled action and hereby requires that Defendant

WALMART STORES EAST, LP d/b/a WALMART SUPERCENTER #5735 (hereinafter,

"Walmart") answer under oath and in writing the following interrogatories within forty-five (45)

days from the date of service, i.e. the time provided for response pursuant to 0.C.G.A. § 9-11-33,

and that a copy of the answers be furnished to the Plaintiff's attorney,—Law Offices of Johnny

Phillips, Attn: Christopher N Reilly, 12 Jackson Street, Newnan, Georgia 30263.

                                        I. INSTRUCTIONS

        NOTE A:           When used in these interrogatories, the phrase "Defendant", "individual in

question","you" or any synonym thereofare intended to and shall embrace and include, in addition

to Defendant Walmart individually, its attorneys, agents, servants, employees, representatives,

private investigators, insurance adjusters, and all others who are in possession of, in control of, or

may have obtained information for or on behalf of Defendant Walmart.
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       NOTE B:         Throughout these interrogatories, wherever Defendant Walmart is

requested to identify a communication ofany type and such communication was oral,the following

information should be furnished with regard to each such communication:

      (a)      By whom it was made, and to whom;

      (b)      The date upon which it was made;

      (c)      Who else was present when it was made;

      (d)      Whether it was recorded or described in any writing of any type and, if so,

identification of each such writing in the manner indicated in Note C below.

       NOTE C:        Throughout these interrogatories, wherever Defendant Walmart is

requested to identify a communication, letter, document, memorandum, report or record of any

type and such communication was written, the following information should be furnished:

      (a)      A specific description of its nature (e.g., whether it is a letter, a memorandum,etc.);

      (b)      By whom it was made and to whom it was addressed;

      (c)      The date it was made; and

      (d)      The name and address of the present custodian of the writing or, if not known, the

name and address of the present custodian of a copy thereof.

       NOTE D:        Throughout these interrogatories, wherever Defendant Walmart is

requested to identify a person, the following information should be furnished:

      (a)      The person's full name;

      (b)      His or her present home and business address and telephone number at each

address;

      (c)      His or her occupation; and

      (d)      His or her place of employment.
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                                                                                    EXHIBIT B



        NOTE E:        These interrogatories shall be deemed continuing to the extent required by

law. You are required to (1) seasonably supplement any response directed to the identity and

location ofpersons having knowledge ofdiscoverable matters as well as the identity ofeach person

expected to be called as a witness at trial, the subject matter on which he or she is expected to

testify and the substance of his or her testimony;(2)amend any prior response if you subsequently

learn that the original response is no longer true and the circumstances are such that a failure to

amend the response is, in substance a knowing concealment; and (3) provide such other

supplementary responses required by law.

                                   II. INTERROGATORIES

                                                 1.

       State the full name, address, title and position ofthe person answering these interrogatories

and, if different, state the full name, address, employer, title and position of the person verifying

the answer to these interrogatories, as well as the full name, address or last known address,

employer, title and position ofeach person consulted by the person preparing your answers to these

interrogatories.

                                                 2.

       State the name and address of any person, including any party, who, to your knowledge,

information or belief was an eyewitness to the incident complained of in this action; has some

knowledge of any fact or circumstance upon which your defense is based; and has conducted any

investigation relating to the incident complained of or the background, employment, medical

history or activities of Plaintiff PRISCILLA HURTADO.
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                                                                                      EXHIBIT B



                                                 3.

        State the full name, address or last known address, employer, title and position of each

 person not named in response to Interrogatory No. 2 who was present or claims to have been

 present at the scene immediately before or immediately after Plaintiff's incident.

                                                 4.

        To your knowledge, information or belief, has any person identified in your answer to

 Interrogatory No. 2 and/or 3 given any statement or report in connection with this action? If so,

 describe such statement or report and give the name and address of the person having custody and

 control thereof.

                                                 5.

        Please identify each and every witness or employee who, at the time of the incident, was

 in the vicinity of the area of the where the subject incident occurred in the Walmart Supercenter

#5735, located at 5010 Steiner Way Grovetown, GA 30813 and owned by Defendant Walmart

(hFre-inafter-, "the store") where PlaintiffsIncident-occurred. -In regard-to each-such employee,

 please state the individual's name, address, telephone number, shift worked, and job duties.

                                                 6.

        State whether there is or was in existence any policy of liability insurance that would or

 might inure to the benefit of Plaintiff, by providing for payment of a part or all of any judgment

 rendered in favor of Plaintiff against the Defendants by reason of the incident described in the

complaint, and if the answer is in the affirmative, state as to each such policy of insurance known

 or believed to exist by you the name and address of the insurer on each such policy; the name and

 address of each named insured on each such policy; the relationship, if any, between each named

 insured on each such policy and the defendant; the policy number of each such policy; the name
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and address of any person who may be an additional insured under such policy by reason of the

incident described in the complaint, and the relationship, if any, between such additional insured

and the defendants in this case; and the limits of liability in such policy as might be applied to

Plaintiff by reason of any one accident.

                                                  7.

        Please identify any entity or person with any financial interest, lease or ownership interest

in the premises on which Plaintiff's incident occurred on or about September 2, 2019.

                                                  8.

        State whether you, your attorneys, or agents thereof have any statement, or any notes or

memoranda of any statements, from any witness or person who claims to have witnessed or has

knowledge or claims to have knowledge of Plaintiff's incident, including any statement made by

Plaintiff.

                                                  9.

        State whetheranymoviesTvideotapes-or other photographs or other recordings were taken

of Plaintiff or of the.scene of the incident at any time prior, during or subsequent to the time of

Plaintiff's incident. If so, state the date of each such movie, videotape, photograph or recording;

the name, address or last known address, employer, title and position of each person who took or

had control over each such movie, videotape, photograph or recording; and the name, address or

last known address, employer, title and position of each person having possession of each such

movie, videotape, photograph or other recording or any negative thereof.

                                                 1 0.

        Has any other personal injury or slip and fall accident occurred in the store, either during

the five (5) years preceding Plaintiff's incident, or any time during or after the date of Plaintiff's
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                                                                                     EXHIBIT B



incident? If so, for each such accident or personal injury, state the date and time it occurred; a

brief description of how it occurred; the name,or other means of identification and address ofeach

person involved in each such occurrence; the location at which it occurred; and any remedial

actions taken by Defendant Walmart subsequent to each occurrence.

                                                 1 1.

          At the time of Plaintiff's incident, did Defendant Walmart have any procedures in place,

written or unwritten, formal or informal, for the inspection, cleaning and maintenance of the

premises complained of, specifically the subject department of the store? If so, state the name,

address, employer and position of each person having custody of each such written procedures.

For all such procedures, whether written or oral, describe the manner in which they were

communicated,the names and addresses or last known addresses of all persons to whom they were

communicated; and the name, address, employer, title and position of each person who had

knowledge of said procedures prior to the time of Plaintiff's incident.

                                                 12. -

          Was Defendant Walmart or any of its representatives notified orally, in writing, or

otherwise of Plaintiff's incident? If so, state whether Defendant Walmart was informed of the fall

by someone other than an employee of said Defendant, and if so, state the name, address or last

known address, employer, title and position and phone number of each person who informed

Defendant Walmart and the date on which the information was received. Additionally, state

whether there is or was any record of the receipt of such information, and if so, state the name,

address or last known address, employer, title and position of each such person and agency in

possession of such records, and the title or other identification or description ofthe content of such

record.
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                                                13.

       State whether Defendant Walmart made any changes in its procedures for the inspection,

organization and maintenance of its premises subsequent to Plaintiff's incident. If so, state in

detail what changes were made.

                                                14.

       Please identify (in accordance with Instruction Note D) each person working on the

premises with any duties for the area where this incident occurred on September 2, 2019.

                                                15.

       Has any insurer referred to above denied coverage or reserved its right to later deny

coverage under any such policy of liability insurance? If so, please explain.

                                                16.

       Do you contend that Plaintiff caused or contributed to the incident in question? If so, state

with particularity each and every contention made in this regard.

                                                17.

       If Defendant Walmart has been a party to any personal injury lawsuit (other than this suit)

please describe each such suit, specifying the nature of the case, the date of each such suit, the

court in which it was brought, the county and state in which the case was filed, the names of other

parties to each such suit and the ultimate disposition of each such suit, whether by judgment,

settlement or otherwise.

                                                18.

       Please identify each person whom you expect to call as an expert witness at trial. State the

subject matter on which such expert is expected to testify and state the substance of the facts and

opinions to which the expert is expected to testify and the summary ofthe grounds ofeach opinion.
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                                                                                    EXHIBIT B



                                                 19.

       If Defendant Walmart has retained or employed an expert in anticipation of litigation or

preparation for trial and expect to call such expert as a witness at trial, please identify and state

specifically the name and address of each such expert.

                                                20.

       Did Defendant Walmart or any person on said Defendant's behalf, after learning of wet,

slick and/or hazardous substance take any action to remove or remedy the hazard, or to warn

invitees of its presence?

                                                21.

       Please describe Plaintiff's incident, including any and all incidents and occurrences leading

to Plaintiff's incident and/or wet, slick and/or hazardous substance near the area where the subject

incident occurred and Defendant Walmart subsequent actions following Plaintiff's incident

through and including the time when Plaintiff left the subject premises on September 2, 2019.

                                              — 22. —

       State the name, address, employer, title and position of each person who was scheduled to

work at the time of Plaintiff's incident and for each such person, state a brief description of their

employment duties on said date; the employment relationship between said employee and

Defendant Walmart; a description of any training said employee had in preparation for said

employment upon the premises where Plaintiff's incident occurred; whether said employee

witnessed Plaintiff's incident; what said employee claims to have seen or heard at the time of,

during, or after Plaintiff's incident; and whether said employee gave a statement, either oral or

written, to Defendant Walmart or any representative of said defendant regarding Plaintiff's

incident.
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                                                 23.

       Describe all records that were made or kept which reflect the inspection, cleaning and

maintenance of the premises complained of and in particular the subject area of the store, and for

each such record, state the title or other identification of each such record, a description of the

content of each such record, and the name, address or last known address, employer, title and

position of each person having custody of such records.

                                                24.

       Please state in detail any policies and procedures concerning the inspection, organization

or maintenance of the area where the subject incident occurred.

                                                25.

       Please state what action(s), performance and/or maintenance was required to correct and/or

repair the area complained of.

                                                26.

       Ple.aS'e state the niimber of times the area of Plaintiff's incident was inspected-prior-to the -

Plaintiff's incident on or about September 2, 2019.

                                                27.

       State when the last time the area of Plaintiff's incident was inspected prior to Plaintiff's

incident and identify (in accordance with Instruction Note D)who conducted such inspection.

                                                28.

       Have there ever been any complaints made about the area where this incident occurred? If

so, please state the date(s) of each complaint, the person(s) making each complaint, the nature of

each complaint, and any action taken as a result of each complaint.
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                                                29.

        Were there any contracts or agreements with other individuals or entities regarding the

maintenance, inspection or security of the property where the Plaintiffs incident occurred as

described in the complaint? If so, state the identity of the contracting parties, the address and

telephone number of the contracting parties, and the duties of the contracting parties.

                                                30.

       Please describe any inspection procedures utilized in regard to the area where this incident

occurred.

                                                31.

       Please state whether Defendant Walmart, as named in the Plaintiffs Complaint, is the

correct party to defend this action, and identify (in accordance with Instruction Note D)any and

all proper parties to defend this action.

                                                32.

       IfDefendant Walmart or-anyone acting on its behalf has knowledge ofPlaintiffs
                                                                            _        incident,
                                                                                                      _
please describe Plaintiff's incident, including all actions taken by Defendant Walmart relevant to

the area complained of for one hour before and after the Plaintiffs incident.


Respectfully submitted this 4th day of January, 2021.




                                             /s/ Christopher N Reilly
                                             Christopher N Reilly
                                             Georgia State Bar No. 163424
                                             Attorney for Plaintiff

Law Office of Johnny Phillips, PC
12 Jackson Street
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                      IN THE STATE COURT OF FORSYTH COUNTY
                                 STATE OF GEORGIA
     PRISCILLA HtJRTADO,

             Plaintiff,                                 CIVIL ACTION
     VS.
                                                       FILE NO.:
     WALMART STORES EAST LP d/b/a
     WALMART SUPERCENTER #5735,
     JOHN DOE & XYZ CORPORATION,

             Defendant.

      PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
 TO DEFENDANT WALMART STORES EAST,LP d/b/a WALMART SUPERCENTER
                                #5735

       COMES NOW, Plaintiff in the above-styled civil action, and files this Request for

Production of Documents to Defendant WALMART STORES EAST, LP d/b/a WALMART

SUPERCENTER #5735 (hereinafter, "Walmart") pursuant to 0.C.G.A. Section 9-11-34.

Defendant is required to comply with said Code section and produce a true and correct copy of

eadh-of the-following-documents-to-Plaintiff-s attorney, Law Office_of Johnny Phillips, PC, Attn:

Christopher N Reilly, 12 Jackson Street, Newnan, Georgia 30263, forty-five (45) days from the

date of service.

                                        I. INSTRUCTIONS

       Plaintiff requests that, along with the production of documents, a written response be made

detailing the documents produced and any documents covered by these requests which Defendant

Walmart objects to producing.

       NOTE A:            These requests are continuous and should be supplemented if additional

information is received at a later date.

       NOTE B:            When used in these requests, the phrase "Defendant", "individual in

question","you" or any synonym thereof are intended to and shall embrace and include, in addition
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                                                                                       EXHIBIT B



  to Defendant Walmart individually, its attorneys, agents, servants, employees, representatives,

  private investigators, insurance adjusters, and all others who are in possession of, in control of, or

  may have obtained information for or on behalf of said Defendant.

          NOTE C:         If documents requested are not in Defendant Walmart possession, please

  state as follows:

         (1)      name of person who has possession or knowledge of whereabouts;

        (2)       business address of such;

         (3)      business telephone number of such.

          NOTE D:         If you claim that a privilege applies to any document sought by this request,

  then state the factual and legal basis for the claimed privilege and identify the document(by date,

  author, recipient, general subject matter) so that it can be described in a motion to compel.

                        II. REQUESTS FOR PRODUCTION OF DOCUMENTS



         -Pi-ease—produce-any—and all—insurance -policies_providing_coyerage for the incident

  complained of in Plaintiff's Complaint.

                                                   2.

         Please produce any and all statements taken from any persons who witnessed or claimed

- to have witnessed Plaintiff's incident.

                                                   3.

         Please produce any and all statements, notes or memoranda of any statements from any

  persons having knowledge or claiming to have knowledge of Plaintiff's incident or Plaintiff's

  resulting injuries.
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                                               4.

       Please produce any and all movies, videotapes or other photographs or other recordings of

Plaintiff's incident and/or the scene of Plaintiff's incident, which were taken at any time prior,

during or subsequent to Plaintiffs incident.

                                               5.

       Produce any e-mail, interoffice correspondence, memoranda, report, telephone log,

message or other documents concerning Plaintiff.

                                               6.

       Please produce any and all documentation of any other personal injuries and slip and fall

accidents at the Walmart Stores East, LP located at 5010 Steiner Way Grovetown, GA 30813 and

owned by Defendant Walmart and/or XYZ Corporation (hereinafter, "the store").

                                               7.

       Please produce any and all guidelines, manuals, memoranda or other documents evidencing

iiiytiolicy or procedure concerning-the-inspection, organization-or-maintenance of the area where.

this incident occurred.

                                               8.

       Please produce any and all policy and procedure manuals given to the Defendants'

employees regarding inspection, organization, and maintenance on the premises of the store.

                                               9.

       Please produce any and all documentation of Plaintiffs incident which is in Defendant

Walmart possession, including, but not limited to said Defendant's first notice of Plaintiff's

incident.
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                                                                                   EXHIBIT B



                                                   10.

        Please produce any and all reports, whether written or otherwise recorded, made by any

expert or experts who has been retained or otherwise employed by Defendant Walmart in

anticipation of litigation or preparation for trial in this action.

                                                   1 1.

        Please produce all surveillance movies, photographs, recordings or other visual

documentation which have been made of Plaintiff.

                                                   1 2.

        Please produce any and all documents reflecting any change in procedure responsive to

Plaintiff's Interrogatory No. 13.

                                                   13.

        Please produce all records of inspection, organization and/or maintenance of the store for

24 hours prior to and subsequent to Plaintiff's incident and all documents responsive to Plaintiff's

Interrogatory Nos. 26 and 27.

                                                   14.

        Please produce any daily, weekly, monthly or annual inspection reports or audits or any

other inspection, organization and/or maintenance reports for the area where this incident occurred

-for the past five years.

                                                   15.

        Please produce any documents obtained through third party requests and subpoenas.

                                                   1 6.

        Please produce all documents identifying Defendant Walmart employees on the premises

of the store for the day of the incident and the one-week periods prior to and subsequent to the
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incident.

                                                17.

        Please produce any correspondence, memoranda, report, record or other documents

concerning, referencing or depicting any complaints identified in response to Interrogatory No.28.

                                                18.

        Please produce any maps, schematics, diagrams, drawings or other similar documents

showing the layout of the area where the subject incident occurred.

                                                1 9.

        Produce any and all leases or contracts with outside contractors or agencies for

performance of maintenance services in the area where Plaintiff's incident occurred.

                                               20.

        Please produce any invoices, records, proposals, work orders, maintenance records or other

documents for work performed in the area where this incident occurred in the last five years.

                                               21.

        Please produce all surveillance movies, photographs, recordings or other visual

documentation which have been made of the area of Plaintiff's incident on or about September 2,

2019.

                                               22.

        Please produce any and all documents, evidence of writing, or any other tangible thing

which Defendant Walmart or anyone on said Defendant's behalf referred to in any form or fashion

in answering or attempting to answer Plaintiffs First Interrogatories to Defendant Walmart.

Respectfully submitted this 4" day of January, 2021.
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                                   /s/ Christopher N Reilly

                                   Christopher N Reilly
                                   Georgia State Bar No. 163424
                                   Attorney for Plaintiff

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                       IN THE STATE COURT OF FORSYTH COUNTY
                                  STATE OF GEORGIA
       PRISCILLA IAURTADO,

              Plaintiff,                                CIVIL ACTION
       VS.
                                                       FILE NO.:
       WALMART STORES EAST LP d/b/a
       WALMART SUPERCENTER #5735,
       JOHN DOE & XYZ CORPORATION,

              Defendant.

              PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO
      DEFENDANT WALMART STORES EAST,LP d/b/a WALMART SUPERCENTER
                                  #5735
         In compliance with 0.C.G.A. § 9-11-36, the Defendant WALMART STORES EAST,LP

 d/b/a WALMART SUPERCENTER #5735 (hereinafter,"Walmart"), is required to admit the truth

 of the separately listed matters of fact, and the genuineness of the attached documents forty-five

(45) days after service of this request. As required by statute, Defendant Walmart is required to

 resp-ond-to thisTe-quesfin \With*.

         Defendant Walmart is specifically reminded that the separately listed statements of facts

 are deemed admitted unless, within forty-five (45) days after service of this First Request for

 Admissions to Defendant Walmart, said Defendant serves a written answer, or objection,

 addressed to each fact.

         This request for admissions is subject to and is deemed to include and incorporate the

following definitions:

                                       I. DEFINITIONS

 I.      As used herein, the word "document" shall mean, in addition to its common meaning, the

original and all copies of any writing or record of every type and description, however produced

or reproduced, including, but without limitation, correspondence, contracts, proposals,
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memoranda, tapes, stenographic or handwritten notes, studies, publications, minutes, books,

pamphlets, pictures, drawings, photographs, films, microfilms, voice or sound recordings,

magnetic recordings, maps, reports, surveys, statistical compilations, tax returns, financial

statements, accounting or other financial papers, invoices, receipts, checks, check stubs, accounts,

deposit slips, ledgers, calendars, diaries, appointment books, time-keeping records, computer or

electronic mail message ("e-mail"), and expense account records.

2.        The word "person" means any individual, partnership, corporation, division, firm,

business or other entity.

3.        As used herein,the phrases "relating to" and "relate to" shall be construed in their broadest

sense and shall mean describing, setting forth, discussing, mentioning, commenting upon,

supporting, contradicting, or referring to the subject or topic in question, whether in whole or in

part.

4.        As used herein, the phrase "refer to" and "reference" shall be construed in their broadest

sense and shall mean describing, setting forth-, discussing, mentioning, commenting upon, —

supporting, contradicting, or referring to the subject or topic in question, whether in whole or in

part.

5.        As used herein, the word "all" shall be deemed to include and encompass the words

"each," "every" and "any."

6.        With regard to the terms defined herein, all terms in the singular shall include the plural,

and all terms used in the plural shall include the singular.

7.        The conjunction "and/or" shall be interpreted in every instance both conjunctively and

disjunctively.

8.        As used herein, the phrase "the store" means the premises on which Plaintiffs subject
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 incident occurred, specifically the premises located at 5010 Steiner Way

 Grovetown, GA 30813 and owned by Defendant Walmart.

                                         II. ADMISSIONS

                                                     1.

        On or about September 2,2019, Defendant Walmart was on notice that negligently stacked

and/or improperly stored products were present in the store.

                                                     2.

        Defendant Walmart should have warned invitees of the negligently stacked and/or

improperly stored products which were present in the area where the subject incident occurred on

September 2, 2019.

                                                     3.

        Defendant Walmart negligently failed to warn its invitees ofthe hazardous condition which

was present on the premises complained of in Plaintiff's Complaint.



        Defendant Walmart failed to properly maintain the area where Plaintiff's incident occurred

so as to be safe for invitees.

                                                     5.

        Defendant Walmart failed to inspect the area where Plaintiff's incident occurred for at least

fifteen minutes prior to the Plaintiff's incident.

                                                     6.

        An employee of Defendant Walmart caused the presence of the negligently stacked and/or

improperly stored products in the area where Plaintiff's incident occurred.
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                                                 7.

       Defendant Walmart negligently failed to properly train its employees concerning safety

procedures and inspecting, organization, and maintaining the premises.

                                                 8.

       Defendant Walmart negligently failed to adopt or enforce safety policies and procedures

to protect invitees from hazardous conditions such as those which caused Plaintiff's incident on

September 2, 2019.

                                                 9.

       On or about September 2, 2019, Plaintiff's incident was directly caused by the presence of

negligently stacked and/or improperly stored products.

                                                1 0.

       The Plaintiff's incident was not the fault of any person not a party to this lawsuit.

                                                1 1.

       The Plaintiff-did not contribilte to causing th—e- incident in any manner.

                                                1 2.

       The incident which gives rise to this suit was directly caused by the joint negligence of

Defendants.

                                                13.

      The incident which gives rise to this suit was directly caused by the negligence of this

   Defendant.

                                                14.

       The Plaintiff sustained injuries as a direct result ofthe incident which occurred on or about

September 2, 2019.
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                                               15.

        The Plaintiff experienced pain and suffering as a direct result of the incident which

occurred on or about September 2, 2019.

                                               16.

        The Plaintiff is entitled to recover damages from Defendant Walmart for her personal

injuries.

                                               17.

        The Plaintiff is entitled to recover from Defendant Walmart for her reasonable and

necessary medical expenses and lost wages.

                                               18.

       The Plaintiff's medical expenses and lost wages itemized in her Complaint and served

contemporaneously with these requests are reasonable and necessary.

                                               19.

       Defendatit-Walmart has'been properly served-with-process-in this action:-- —

                                               20.

       Defendant Walmart is subject to the jurisdiction and venue of this court.



Respectfully submitted this 4th day of January, 2021.



                                             /s/ Christopher N Reilly
                                             Christopher N Reilly
                                             Georgia State Bar No. 163424
                                             Attorney for Plaintiff.

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                                                              EXHIBIT B



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                                                             CLERK OF STATE COURT
                                                           FORSYTH COUNTY, GEORGIA
                                                             20SC-1653-A
                                                        Judge Leslie Abernathy-Maddox
                                                            APR 20, 2021 09:41 AM
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                                                                           CLERK OF STATE COURT
                                                                         FORSYTH COUNTY, GEORGIA
                                                                            20SC-1653-A
                  IN THE STATE COURT OF FORSYTH COUNTY                Judge Leslie Abernathy-Maddox
                                                                          FEB 05, 2021 05:14 PM
                             STATE OF GEORGIA

PRISCILLA HURTADO,                                  Civil Action File No.
                                                    20SC-1653-A
            Plaintiff,
v.

WALMART STORES EAST, LP
D/B/A WALMART #5735,
JOHN DOE AND XYZ CORPORATION,

            Defendants.
                             /


          ANSWER OF DEFENDANT WAL-MART STORES EAST, LP

      COMES NOW, Defendant WAL-MART STORES EAST, LP and makes this

Answer to Plaintiff's Complaint as follows:

                                  FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                 SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                 THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the



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premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.

                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                 SIXTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant denies the allegations contained in paragraph 1 of the Plaintiff's

Complaint.

                                         2.

      Defendant denies the allegations contained in paragraph 2 of the Plaintiff's

Complaint.




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                                        3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                        4.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 4 of Plaintiff's Complaint.

                                        5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint.

                                        6.

      Defendant denies the allegations contained in paragraph 6 of the Plaintiff's

Complaint, as stated.

                                        7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint.

                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.




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                                          9.

      Defendant realleges and incorporates the answers contained in paragraphs

1 through 8 above as if fully stated herein.

                                         10.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 10 of Plaintiff's Complaint, said allegation is

therefore denied.

                                         11.

      Defendant denies the allegations contained in paragraph 11 of the Plaintiff's

Complaint. Defendant shows that all applicable case law has been omitted.

                                         12.

      Defendant denies the allegations contained in paragraph 12 of the Plaintiff's

Complaint.

                                         13.

      Defendant denies the allegations contained in paragraph 13 of the Plaintiff's

Complaint.

                                         14.

      Defendant denies the allegations contained in paragraph 14 of the Plaintiff's

Complaint.



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                                         15.

      Defendant realleges and incorporates the answers contained in paragraphs

1 through 14 above as if fully stated herein.

                                         16.

      Defendant denies the allegations contained in paragraph 16 of the Plaintiff's

Complaint, as stated.

                                         17.

      Defendant denies the allegations contained in paragraph 17 of the Plaintiff's

Complaint.

                                         18.

      Defendant realleges and incorporates the answers contained in paragraphs

1 through 17 above as if fully stated herein.

                                         19.

      Defendant denies the allegations contained in paragraph 19 of the Plaintiff's

Complaint, as stated.

                                         20.

      Defendant denies the allegations contained in paragraph 20 of the Plaintiff's

Complaint.




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                                         21.

      Defendant realleges and incorporates the answers contained in paragraphs

1 through 20 above as if fully stated herein.

                                         22.

      Defendant denies the allegations contained in paragraph 22 of the Plaintiff's

Complaint.

                                         23.

      Defendant denies the allegations contained in paragraph 23 of the Plaintiff's

Complaint.

                                         24.

      Defendant denies the allegations contained in paragraph 24 of the Plaintiff's

Complaint.

                                         25.

      Defendant denies the allegations contained in paragraph 25 of the Plaintiff's

Complaint.

                                         26.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.




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                                        27.

      Defendant denies Plaintiff's prayer for relief, including subparagraphs a), b),

c), d) and e) thereof.

      WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                      McLAIN & MERRITT, P.C.



                                      /s/ Howard M. Lessinger
                                      Howard M. Lessinger
                                      Georgia Bar No. 447088



                                       /s/ Jennie Rogers
                                      Jennie Rogers
                                      Georgia Bar No. 612725
                                      Attorneys for Defendant
                                      WAL-MART STORES EAST, LP



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(404) 364-3138 (fax)
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                         CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, LP has this day been filed and served

upon opposing counsel via Peachcourt.

     This the 5th day of February, 2021.



                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendant
                                    WAL-MART STORES EAST, LP

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                                                                          CLERK OF STATE COURT
                                                                        FORSYTH COUNTY, GEORGIA
                                                                            20SC-1653-A
                 IN THE STATE COURT OF FORSYTH COUNTY               Judge Leslie Abernathy-Maddox
                                                                        FEB 05, 2021 05:14 PM
                            STATE OF GEORGIA

PRISCILLA HURTADO,                                  Civil Action File No.
                                                    20SC-1653-A
             Plaintiff,
v.

WALMART STORES EAST, LP
D/B/A WALMART #5735,
JOHN DOE AND XYZ CORPORATION,

             Defendants.
                              /

                           12-PERSON JURY DEMAND

      COMES NOW Defendant, WALMART STORES EAST, LP and demands a

trial by a jury of twelve (12) persons.


                                          McLAIN & MERRITT, P.C.

                                          /s/ Howard M. Lessinger
                                          Howard M. Lessinger
                                          Georgia Bar No. 447088
                                          Attorneys for Defendant
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing 12-PERSON JURY

DEMAND has this day been filed and served upon opposing counsel via

Peachcourt E-File.

      This the 5th   day of February, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendant
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(404) 364-3138 (fax)
hlessinger@mmatllaw.com
       Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 47 of 83
                                                                                     EXHIBIT B
                                                                                        CLERK OF STATE COURT
                                                                                      FORSYTH COUNTY, GEORGIA
                                                                                       20SC-1653-A
                      IN THE STATE COURT OF FORSYTH COUNTY                       Judge Leslie Abernathy-Maddox
                                 STATE OF GEORGIA                                    JUL 06, 2021 12:16 PM


PRISCILLA HURTADO,                                           Civil Action File No.
                                                             20SC-1653-A
       Plaintiff,
v.

WALMART STORES EAST, LP
d/b/a WALMART SUPERCENTER #5735,
JOHN DOE & XYZ CORPORATION,

       Defendants.
                                /

                           CONSENT MOTION OF PARTIES
                         TO EXTEND THE DISCOVERY PERIOD

       COME NOW Plaintiff Priscilla Hurtado (hereinafter “Plaintiff”) and Defendant Walmart

Stores East, LP d/b/a Walmart Supercenter #5735, (hereinafter “Defendant”), and pursuant to

Rule 5.1 of the Uniform Superior Court Rules, hereby move the Court to extend the discovery

period through and including December 6, 2021, showing the Court as follows:

                                                1.

       This is a personal injury case that will involve multiple depositions.

                                                2.

       Plaintiff filed her Complaint on December 28, 2020 naming Walmart Stores East, LP

d/b/a Walmart Supercenter #5735 as Defendant. Defendant filed its Answer on February 5,

2021. The discovery period is set to expire on August 5, 2021.

                                                3.

       The parties have not previously petitioned this Court for an extension of discovery.
         Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 48 of 83
                                                                                  EXHIBIT B


                                                 4.

        Although counsel have diligently pursued discovery, the parties hereby show the Court

that the parties have exchanged written discovery and Plaintiff’s deposition is currently

scheduled to take place on August 17, 2021. However the parties are requiring additional time to

schedule the depositions of other witnesses who may have information regarding the incident

giving rise to this suit.

                                                      5.

        All parties consent to this motion to extend.

                                                 6.

        Based on the foregoing, the parties jointly request that the time for discovery be extended

up through and including December 6, 2021. The parties respectfully request that the case not

appear on any pretrial calendars before then. A proposed Order is attached for the Court’s

convenience.

        This 6th day of July, 2021.


FILED AND CONSENTED TO BY:

/s/ Christopher N. Reilly
Christopher N. Reilly, Esq.
Georgia Bar No. 163424
Law Office of Johnny Phillips, PC
12 Jackson Street
Newnan, GA 30263
Attorney for Plaintiff


/s/ Ernest L. Beaton, IV
Ernest L. Beaton, IV, Esq.
Georgia Bar No. 213044
McLain & Merritt, PC
3445 Peachtree Road, N.E.
Suite 500
       Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 49 of 83
                                                                EXHIBIT B


Atlanta, Georgia 30326
Attorney for Defendant
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 50 of 83
                                                                           EXHIBIT B




                               CERTIFICATE OF SERVICE

       This is to certify that on this day, I electronically filed CONSENT MOTION OF

PARTIES TO EXTEND DISCOVERY TIME PERIOD with the Clerk of Court using the

PeachCourt efile system which will automatically send email notifications of such filing to

attorneys of record.


       This 6th day of July, 2021.

                                         McLAIN & MERRITT, P.C.



                                         /s/ Ernest L. Beaton, IV
                                         Ernest L. Beaton, IV, Esq.
                                         Georgia State Bar No. 213044
                                         Attorneys for Defendant
3445 Peachtree Road, N.E.
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Atlanta GA 30326-3240
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ebeaton@mmatllaw.com
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 51 of 83
                                                                                    EXHIBIT B
                                                                                       CLERK OF STATE COURT
                                                                                     FORSYTH COUNTY, GEORGIA
                                                                                      20SC-1653-A
                      IN THE STATE COURT OF FORSYTH COUNTY                      Judge Leslie Abernathy-Maddox
                                                                                    JUL 07, 2021 08:42 PM
                                 STATE OF GEORGIA

PRISCILLA HURTADO,                                          Civil Action File No.
                                                            20SC-1653-A
       Plaintiff,
v.

WALMART STORES EAST, LP
d/b/a WALMART SUPERCENTER #5735,
JOHN DOE & XYZ CORPORATION,

       Defendants.
                                /

                                            ORDER

       Having read and considered the Consent Motion of Parties to Extend the Discovery

Period, and for good cause shown, it is hereby ORDERED that the discovery period of this case

be extended through and including December 6, 2021. It is further ordered that all scheduled

deadlines and filing dates are also extended and re-set accordingly.

       SO ORDERED this _____ day of _________________, 2021.


                                             _____________________________
                                             Judge, State Court of Forsyth County

CONSENTED TO BY:

/s/ Christopher N. Reilly
Christopher N. Reilly, Esq.
Georgia Bar No. 163424
Law Office of Johnny Phillips, PC
12 Jackson Street
Newnan, GA 30263
Attorney for Plaintiff


/s/ Ernest L. Beaton, IV
Ernest L. Beaton, IV, Esq.
Georgia Bar No. 213044
McLain & Merritt, PC
       Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 52 of 83
                                                                EXHIBIT B


3445 Peachtree Road, N.E.
Suite 500
Atlanta, Georgia 30326
Attorney for Defendant
      Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 53 of 83
                                                                     EXHIBIT B
                                                                         CLERK OF STATE COURT
                                                                       FORSYTH COUNTY, GEORGIA
                                                                           20SC-1653-A
                IN THE STATE COURT OF FORSYTH COUNTY               Judge Leslie Abernathy-Maddox
                                                                       FEB 05, 2021 05:14 PM
                           STATE OF GEORGIA

PRISCILLA HURTADO,                                 Civil Action File No.
                                                   20SC-1653-A
            Plaintiff,
v.

WALMART STORES EAST, LP
D/B/A WALMART #5735,
JOHN DOE AND XYZ CORPORATION,

            Defendants.
                             /

                         NOTICE OF TAKING DEPOSITION

      YOU ARE HEREBY notified that beginning on the 5th day of May, 2021,

commencing at 11:00 a.m., at the offices of Johnny Phillips, 12 Jackson Street,

Newnan, GA, the deposition will be taken of Priscilla Hurtado. Said deposition will

be taken for purposes of discovery and all other purposes provided by law before

an officer duly authorized to administer oaths. The deposition shall continue from

day-to-day until completion.      This deposition may also be videotaped by a

videographer.

                                            McLAIN & MERRITT, P.C.



                                              /s/ Howard M. Lessinger
                                            Howard M. Lessinger
                                            Georgia Bar No. 447088
                                            Attorneys for Defendant
      Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 54 of 83
                                                               EXHIBIT B


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hlessinger@mmatllaw.com
      Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 55 of 83
                                                                EXHIBIT B


                         CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing NOTICE OF TAKING

DEPOSITION has this day been filed and served upon opposing counsel via

Peachcourt.

     This the 5th   day of February, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendant
                                    WAL-MART STORES EAST, LP
3445 Peachtree Road, N.E.
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      Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 56 of 83
                                                                     EXHIBIT B
                                                                         CLERK OF STATE COURT
                                                                       FORSYTH COUNTY, GEORGIA
                                                                           20SC-1653-A
                 IN THE STATE COURT OF FORSYTH COUNTY              Judge Leslie Abernathy-Maddox
                                                                       FEB 06, 2021 04:50 AM
                            STATE OF GEORGIA

PRISCILLA HURTADO,                                 Civil Action File No.
                                                   20SC-1653-A
             Plaintiff,
v.

WALMART STORES EAST, LP
D/B/A WALMART #5735,
JOHN DOE AND XYZ CORPORATION,

             Defendants.
                             /

                   CERTIFICATE REGARDING DISCOVERY

      Pursuant to Uniform State Court Rule 5.2, as amended, the undersigned

hereby certifies that the following discovery has been served upon all persons

identified in the Certificate of Service attached hereto and incorporated herein by

reference:

DEFENDANT'S FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF

DEFENDANT'S INTERROGATORIES AND REQUEST FOR PRODUCTION TO
PLAINTIFF

ANSWERS TO REQUEST FOR ADMISSIONS
                           McLAIN & MERRITT, P.C.

                                      /s/ Howard M. Lessinger
                                      Howard M. Lessinger
                                      Georgia Bar No. 447088
                                      Attorneys for Defendant
                                      WALMART STORES EAST, LP
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514
      Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 57 of 83
                                                               EXHIBIT B


                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing CERTIFICATE

REGARDING DISCOVERY has this day been filed and served upon opposing

counsel via Peachcourt.

      This the 5th day of February, 2021.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendant
                                    WALMART STORES EAST, LP
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hlessinger@mmatllaw.com
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 58 of 83
                                                                                       EXHIBIT B
                                                                                           CLERK OF STATE COURT
                                                                                         FORSYTH COUNTY, GEORGIA
                                                                                           20SC-1653-A
                        IN THE STATE COURT OF FORSYTH COUNTY                         Judge Leslie Abernathy-Maddox
                                   STATE OF GEORGIA                                      FEB 16, 2021 10:50 AM


PRISCILLA HURTADO,                                      Civil Action File No.
                                                        20SC-1653-A
                Plaintiff,
v.

WAL-MART STORES EAST, LP,
D/B/A WALMART #5735,
JOHN DOE AND
XYZ CORPORATION,

                Defendants.
                                  /

                             AMENDED NOTICE OF TAKING REMOTE
                              DEPOSITION OF PRISCILLA HURTADO

        YOU ARE HEREBY notified that beginning on the 13th day of May, 2021, commencing

at 10:00 a.m., the remote deposition will be taken of PRISCILLA HURTADO. Said deposition

will be taken for purposes of discovery and all other purposes provided by law before an officer

duly authorized to administer oaths. The deposition shall continue from day-to-day until

completion and will be taken upon oral examination pursuant to the provisions of utilizing the

secure web-based deposition option or video teleconferencing (VTC) via ZOOM services offered

by Elizabeth Gallo Court Reporting, LLC or telephonically to provide remote access for the

witness and all parties so they may each participate in the depositions remotely via the internet

and/or telephone. The deposition will be taken before a court reporter to be provided by

Defendant, which court reporter will also participate remotely via one of the options above for

the purposes of reporting the proceeding, as well as swearing in the deponent.

        All parties who wish to participate in the Web Deposition are instructed to contact the

noticing attorney at least five (5) calendar days prior to the depositions to advise that it is their

desire to appear via this remote participating means so that the necessary credentials, call-in
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 59 of 83
                                                                                     EXHIBIT B


numbers, testing and information, if necessary, can be provided to you prior to the proceedings.

In addition, we also reserve the right to utilize instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to their writing of same

on one’s laptop, iPad, tablet or other type of display device connected to the court reporter.

                                                      McLAIN & MERRITT, P.C.


                                                         /s/ Ernest L. Beaton, IV
                                                      Ernest L. Beaton, IV
                                                      Georgia Bar No. 213044
                                                      Attorneys for Defendant
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 266-9171
ebeaton@mmatllaw.com
       Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 60 of 83
                                                                         EXHIBIT B



                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing AMENDED NOTICE OF

TAKING REMOTE DEPOSITION has this day been filed and served upon opposing counsel

via Peach Court E-File.

       This the 16th day of February, 2021.

                                          McLAIN & MERRITT, P.C.



                                          /s/ Ernest L. Beaton, IV
                                          Ernest L. Beaton, IV
                                          Georgia Bar No. 213044
                                          Attorney for Defendant
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ebeaton@mmatllaw.com
      Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 61 of 83
                                                                     EXHIBIT B
                                                                         CLERK OF STATE COURT
                                                                       FORSYTH COUNTY, GEORGIA
                                                                           20SC-1653-A
                 IN THE STATE COURT OF FORSYTH COUNTY              Judge Leslie Abernathy-Maddox
                                                                       MAR 15, 2021 02:15 PM
                            STATE OF GEORGIA

PRISCILLA HURTADO,                                 Civil Action File No.
                                                   20SC-1653-A
             Plaintiff,
v.

WALMART STORES EAST, LP
D/B/A WALMART #5735,
JOHN DOE AND XYZ CORPORATION,

             Defendants.
                             /

                   CERTIFICATE REGARDING DISCOVERY

      Pursuant to Uniform State Court Rule 5.2, as amended, the undersigned

hereby certifies that the following discovery has been served upon all persons

identified in the Certificate of Service attached hereto and incorporated herein by

reference:

*     Defendant’s Responses to Plaintiff’s First Interrogatories; and
*     Defendant’s Responses to Plaintiff’s First Request for Production of
      Documents.


                                      McLAIN & MERRITT, P.C.

                                      /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 231044
                                      Attorneys for Defendant
                                      WALMART STORES EAST, LP
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ebeaton@mmatllaw.com
      Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 62 of 83
                                                               EXHIBIT B


                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing CERTIFICATE

REGARDING DISCOVERY has this day been filed and served upon opposing

counsel via Peachcourt.

      This the 15th day of March, 2021.

                                      McLAIN & MERRITT, P.C.



                                      /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 213044
                                      Attorney for Defendant
                                      WALMART STORES EAST, LP
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ebeaton@mmatllaw.com
           Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 63 of 83
                                                                                   EXHIBIT B
                                                                                       CLERK OF STATE COURT
                                                                                     FORSYTH COUNTY, GEORGIA
                                                                                       20SC-1653-A
                       IN THE STATE COURT OF FORSYTH COUNTY                      Judge Leslie Abernathy-Maddox
                                                                                     APR 15, 2021 12:52 PM
                                  STATE OF GEORGIA


     PRISCILLA HURTADO,

              Plaintiff,                               CIVIL ACTION
     vs.
                                                       FILE NO.: 20SC-1653-A
     WALMART STORES EAST LP d/b/a
     WALMART SUPERCENTER #5735,
     JOHN DOE & XYZ CORPORATION,

              Defendant.

                      5.2 CERTIFICATE OF SERVICE OF DISCOVERY
       I HEREBY CERTIFY that I have served a copy of Plaintiff’s Response to Defendant’s
Interrogatories and Request for Production of Documents to Plaintiff on the Defendant by
depositing same in the United States Mail with sufficient postage affixed thereon to ensure delivery
at the following address:

                                   Howard M. Lessinger, Esq.
                                       Chip Beaton, Esq
                                      McLain & Merritt PC
                                3445 Peachtree Rd. NE STE 500
                                    Atlanta, GA 30326-1223
                            Attorney for: Walmart Supercenter #5735


Respectfully submitted this 15th day of April, 2021.




                                      /s/ Christopher N. Reilly
                                      CHRISTOPHER N REILLY
                                      State Bar No. 163424
                                      Counsel for the Plaintiff

LAW OFFICE OF JOHNNY PHILLIPS, P.C.
12 Jackson Street

                                                36
       Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 64 of 83
                                                                EXHIBIT B


Newnan, GA 30263
Phone: (404) 487-0184
Fax: (404) 439-1190
chris@johnnyphillipslaw.com




                                      37
           Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 65 of 83
                                                                                    EXHIBIT B
                                                                                        CLERK OF STATE COURT
                                                                                      FORSYTH COUNTY, GEORGIA
                                                                                        20SC-1653-A
                       IN THE STATE COURT OF FORSYTH COUNTY                       Judge Leslie Abernathy-Maddox
                                  STATE OF GEORGIA                                    APR 16, 2021 10:29 AM



     PRISCILLA HURTADO,

              Plaintiff,                                CIVIL ACTION
     vs.
                                                        FILE NO.: 20SC-1653-A
     WALMART STORES EAST LP d/b/a
     WALMART SUPERCENTER #5735,
     JOHN DOE & XYZ CORPORATION,

              Defendant.

    PLAINTIFF PRISCILLA HURTADO RESPONSE TO DEFENDANTS' FI RST
               REQUESTS FOR ADM ISSIONS TO PLAINTIFF

       COMES NOW Plaintiff, PRISCILLA HURTADO, in the above-styled action and responds

to Defendant’s First Request for Admission of Facts to Plaintiff as follows:

       Plaintiff generally object to Defendant’s First Request for Admission of Facts as stated

below. These general objections shall be deemed to be interposed to each Request, irrespective

of whether Plaintiff repeats such objections, unless stated otherwise. To the extent that Plaintiff

has objected, Plaintiff respectfully refuses to answer the affected portion of the Request.

                                                 A.

       Plaintiff objects to these Requests for Admission of Facts to the extent they seek to

require Plaintiff to respond on behalf of any other person or entity.

                                                 B.

       Plaintiff objects to these Requests for Admission of Facts to the extent that they seek to

require Plaintiffs to provide information other than that which may be obtained through a

reasonably diligent search of Defendants’ or Defendants’ Insurance Company’s own records.

                                                 C.
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 66 of 83
                                                                                     EXHIBIT B


        Plaintiff objects to these Requests for Admission of Facts to the extent that they require

Plaintiffs to respond to questions or to identify or produce documents relating to times, events

and other things outside the scope of the subject matter of the Complaint.

                                                   D.

        Plaintiff objects to these Requests for Admission of Facts to the extent that they seek to

require Plaintiffs to provide information or to identify any documents or other tangible things

prepared or obtained in anticipation of litigation or for trial.

                                                   E.

        Plaintiff objects to these Requests for Admission of Facts to the extent that they seek to

require Plaintiffs to disclose privileged attorney-client communications or information otherwise

protected from discovery on the grounds of privilege.

                                                   F.

        Plaintiff objects generally and individually to these Requests for Admission of Facts on

the grounds and to the extent that they assume facts not in evidence or are otherwise erroneous

and on the further grounds that they are vague, overly broad, oppressive, unduly burdensome, not

relevant to the subject matter of the litigation, and not calculated to lead to the discovery of

admissible evidence and thus, declines to pursue a detailed search of its documents.

                                                   G.

        Plaintiff objects to these Requests for Admission of Facts to the extent that they seek to

obtain information concerning documents that are not relevant to the subject litigation.

                                                   H.

        Plaintiff hereby reserves the right to adopt future objections relating to Defendants’ First

Request for Admission of Facts.
                                            Page 2 of 7
         Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 67 of 83
                                                                                     EXHIBIT B


                                                  I.

         Plaintiff objects to these Requests for Admission of Facts to the extent that they seek to

require Plaintiff to gather and summarize information contained in voluminous papers that are

already a matter of record.

                                                  J.

         Plaintiff objects to these Requests for Admission of Facts to the extent that they seek to

require Plaintiff to provide information that is equally available to the Plaintiffs as to Defendant.

                                                  K.

         Plaintiff objects to these Requests for Admission of Facts to the extent that they seek

Plaintiff to respond other than in accordance with O.C.G.A. §9-11-26, O.C.G.A. §9-11-33 and

O.C.G.A. §9-11-34.

                                                  L.

         Plaintiff objects to the “Definitions” and “Instructions” section of Defendant’s Request

for Admission of Facts on grounds that the Definitions and Instructions are overly broad and

unduly burdensome and as stated seek to impose upon the Plaintiffs duties beyond that provided

for by the Civil Practice Act of Georgia. Plaintiff will respond to requests as provided by the

Civil Practice Act of Georgia.

                                                  M.

         Plaintiff responds to Defendant’s First Request for Admission of Facts by incorporating

by reference as part of its response all of the “General Objections” that have been delineated

above.




                                            Page 3 of 7
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 68 of 83
                                                                                  EXHIBIT B


                                               N.

       Plaintiff reserves the right to supplement and/or amend Plaintiff’s responses as

information is discovered.

       Subject to these General Objections, Plaintiff responds to Defendant as follows:

                                                1.

       Plaintiff will not seek, recover or collect from Defendant Wal-Mart Stores East, LP.,

or from any Wal-Mart entity a sum in excess of $75,000.

       RESPONSE: Plaintiff can neither admit nor deny



                                                2.

       Any portion of a verdict against Defendant that exceeds $75,000 will be written

down by the Court so that the Judgment shall not exceed the sum of $75,000.

       RESPONSE: Plaintiff can neither admit nor deny



                                                     3.

Neither Wal-Mart Stores East, LP. nor any other Wal-Mart entity in this action shall be

ordered, adjudged or called upon to pay to Plaintiff a sum in excess of $75,000.

       RESPONSE: Plaintiff can neither admit nor deny




Respectfully submitted this 15th day of April, 2021.

                                          Page 4 of 7
     Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 69 of 83
                                                              EXHIBIT B




                                  /s/ Christopher N. Reilly
                                  CHRISTOPHER N REILLY
                                  State Bar No. GA
                                  Counsel for the Plaintiff



LAW OFFICE OF JOHNNY PHILLIPS
12 JACKSON ST
NEWNAN GEORGIA 30263
(404) 487-0184
FAX: (404) 439-1190
chris@johnnyphillipslaw.com




                                Page 5 of 7
           Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 70 of 83
                                                                                  EXHIBIT B


                       IN THE STATE COURT OF FORSYTH COUNTY
                                  STATE OF GEORGIA


     PRISCILLA HURTADO,

              Plaintiff,                               CIVIL ACTION
     vs.
                                                       FILE NO.: 20SC-1653-A
     WALMART STORES EAST LP d/b/a
     WALMART SUPERCENTER #5735,
     JOHN DOE & XYZ CORPORATION,

              Defendant.

                      5.2 CERTIFICATE OF SERVICE OF DISCOVERY
       I HEREBY CERTIFY that I have served a copy of Plaintiff’s Response to Defendant’s
Admissions to Plaintiff on the Defendant by depositing same in the United States Mail with
sufficient postage affixed thereon to ensure delivery at the following address:



                                   Howard M. Lessinger, Esq.
                                       Chip Beaton, Esq.
                                      McLain & Merritt PC
                                3445 Peachtree Rd. NE STE 500
                                    Atlanta, GA 30326-1223
                            Attorney for: Walmart Supercenter #5735



Respectfully submitted this 15th day of April, 2021.




                                      /s/ Christopher N. Reilly
                                      CHRISTOPHER N REILLY
                                      State Bar No. 163424
                                      Counsel for the Plaintiff

LAW OFFICE OF JOHNNY PHILLIPS, P.C.
12 Jackson Street
                                          Page 6 of 7
       Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 71 of 83
                                                                EXHIBIT B


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Phone: (404) 487-0184
Fax: (404) 439-1190
chris@johnnyphillipslaw.com




                                 Page 7 of 7
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 72 of 83
                                                                                       EXHIBIT B
                                                                                           CLERK OF STATE COURT
                                                                                         FORSYTH COUNTY, GEORGIA
                                                                                           20SC-1653-A
                        IN THE STATE COURT OF FORSYTH COUNTY                         Judge Leslie Abernathy-Maddox
                                   STATE OF GEORGIA                                      APR 22, 2021 11:50 AM


PRISCILLA HURTADO,                                      Civil Action File No.
                                                        20SC-1653-A
                Plaintiff,
v.

WAL-MART STORES EAST, LP,
D/B/A WALMART #5735,
JOHN DOE AND
XYZ CORPORATION,

                Defendants.
                                  /

                     SECOND AMENDED NOTICE OF TAKING REMOTE
                         DEPOSITION OF PRISCILLA HURTADO

        YOU ARE HEREBY notified that beginning on the 16th day of June, 2021, commencing

at 10:00 a.m., the remote deposition will be taken of PRISCILLA HURTADO. Said deposition

will be taken for purposes of discovery and all other purposes provided by law before an officer

duly authorized to administer oaths. The deposition shall continue from day-to-day until

completion and will be taken upon oral examination pursuant to the provisions of utilizing the

secure web-based deposition option or video teleconferencing (VTC) via ZOOM services offered

by Elizabeth Gallo Court Reporting, LLC or telephonically to provide remote access for the

witness and all parties so they may each participate in the depositions remotely via the internet

and/or telephone. The deposition will be taken before a court reporter to be provided by

Defendant, which court reporter will also participate remotely via one of the options above for

the purposes of reporting the proceeding, as well as swearing in the deponent.

        All parties who wish to participate in the Web Deposition are instructed to contact the

noticing attorney at least five (5) calendar days prior to the depositions to advise that it is their

desire to appear via this remote participating means so that the necessary credentials, call-in
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 73 of 83
                                                                                     EXHIBIT B


numbers, testing and information, if necessary, can be provided to you prior to the proceedings.

In addition, we also reserve the right to utilize instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to their writing of same

on one’s laptop, iPad, tablet or other type of display device connected to the court reporter.

                                                      McLAIN & MERRITT, P.C.


                                                         /s/ Ernest L. Beaton, IV
                                                      Ernest L. Beaton, IV
                                                      Georgia Bar No. 213044
                                                      Attorneys for Defendant
3445 Peachtree Road, N.E.
Suite 500
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(404) 266-9171
ebeaton@mmatllaw.com
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                                                                       EXHIBIT B



                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing SECOND AMENDED NOTICE

OF TAKING REMOTE DEPOSITION has this day been filed and served upon opposing

counsel via Peach Court E-File.

       This the 22nd day of April, 2021.

                                           McLAIN & MERRITT, P.C.



                                           /s/ Ernest L. Beaton, IV
                                           Ernest L. Beaton, IV
                                           Georgia Bar No. 213044
                                           Attorney for Defendant
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        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 75 of 83
                                                                                       EXHIBIT B
                                                                                            CLERK OF STATE COURT
                                                                                          FORSYTH COUNTY, GEORGIA
                                                                                            20SC-1653-A
                        IN THE STATE COURT OF FORSYTH COUNTY                          Judge Leslie Abernathy-Maddox
                                   STATE OF GEORGIA                                       JUL 02, 2021 11:10 AM


PRISCILLA HURTADO,                                      Civil Action File No.
                                                        20SC-1653-A
                Plaintiff,
v.

WAL-MART STORES EAST, LP,
D/B/A WALMART #5735,
JOHN DOE AND
XYZ CORPORATION,

                Defendants.
                                  /

                      THIRD AMENDED NOTICE OF TAKING REMOTE
                          DEPOSITION OF PRISCILLA HURTADO

        YOU ARE HEREBY notified that beginning on the 17th day of August, 2021,

commencing at 10:00 a.m., the remote deposition will be taken of PRISCILLA HURTADO.

Said deposition will be taken for purposes of discovery and all other purposes provided by law

before an officer duly authorized to administer oaths. The deposition shall continue from day-to-

day until completion and will be taken upon oral examination pursuant to the provisions of

utilizing the secure web-based deposition option or video teleconferencing (VTC) via ZOOM

services offered by Elizabeth Gallo Court Reporting, LLC or telephonically to provide remote

access for the witness and all parties so they may each participate in the depositions remotely via

the internet and/or telephone. The deposition will be taken before a court reporter to be provided

by Defendant, which court reporter will also participate remotely via one of the options above for

the purposes of reporting the proceeding, as well as swearing in the deponent.

        All parties who wish to participate in the Web Deposition are instructed to contact the

noticing attorney at least five (5) calendar days prior to the depositions to advise that it is their

desire to appear via this remote participating means so that the necessary credentials, call-in
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                                                                                     EXHIBIT B


numbers, testing and information, if necessary, can be provided to you prior to the proceedings.

In addition, we also reserve the right to utilize instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to their writing of same

on one’s laptop, iPad, tablet or other type of display device connected to the court reporter.

                                                      McLAIN & MERRITT, P.C.


                                                         /s/ Ernest L. Beaton, IV
                                                      Ernest L. Beaton, IV
                                                      Georgia Bar No. 213044
                                                      Attorneys for Defendant
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                                                                        EXHIBIT B



                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing THIRD AMENDED NOTICE OF

TAKING REMOTE DEPOSITION has this day been filed and served upon opposing counsel

via Peach Court E-File.

       This the 2nd day of July, 2021.

                                         McLAIN & MERRITT, P.C.



                                         /s/ Ernest L. Beaton, IV
                                         Ernest L. Beaton, IV
                                         Georgia Bar No. 213044
                                         Attorney for Defendant
3445 Peachtree Road, N.E.
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                                                                                       EXHIBIT B
                                                                                            CLERK OF STATE COURT
                                                                                          FORSYTH COUNTY, GEORGIA
                                                                                            20SC-1653-A
                        IN THE STATE COURT OF FORSYTH COUNTY                          Judge Leslie Abernathy-Maddox
                                   STATE OF GEORGIA                                       SEP 29, 2021 08:48 AM


PRISCILLA HURTADO,                                      Civil Action File No.
                                                        20SC-1653-A
                Plaintiff,
v.

WAL-MART STORES EAST, LP,
D/B/A WALMART #5735,
JOHN DOE AND
XYZ CORPORATION,

                Defendants.
                                  /

                     FOURTH AMENDED NOTICE OF TAKING REMOTE
                         DEPOSITION OF PRISCILLA HURTADO

        YOU ARE HEREBY notified that beginning on the 2nd day of November, 2021,

commencing at 10:00 a.m., the remote deposition will be taken of PRISCILLA HURTADO.

Said deposition will be taken for purposes of discovery and all other purposes provided by law

before an officer duly authorized to administer oaths. The deposition shall continue from day-to-

day until completion and will be taken upon oral examination pursuant to the provisions of

utilizing the secure web-based deposition option or video teleconferencing (VTC) via ZOOM

services offered by Elizabeth Gallo Court Reporting, LLC or telephonically to provide remote

access for the witness and all parties so they may each participate in the depositions remotely via

the internet and/or telephone. The deposition will be taken before a court reporter to be provided

by Defendant, which court reporter will also participate remotely via one of the options above for

the purposes of reporting the proceeding, as well as swearing in the deponent.

        All parties who wish to participate in the Web Deposition are instructed to contact the

noticing attorney at least five (5) calendar days prior to the depositions to advise that it is their

desire to appear via this remote participating means so that the necessary credentials, call-in
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                                                                                     EXHIBIT B


numbers, testing and information, if necessary, can be provided to you prior to the proceedings.

In addition, we also reserve the right to utilize instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to their writing of same

on one’s laptop, iPad, tablet or other type of display device connected to the court reporter.

                                                      McLAIN & MERRITT, P.C.


                                                         /s/ Ernest L. Beaton, IV
                                                      Ernest L. Beaton, IV
                                                      Georgia Bar No. 213044
                                                      Attorneys for Defendant
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ebeaton@mmatllaw.com
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                                                                       EXHIBIT B



                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing FOURTH AMENDED NOTICE

OF TAKING REMOTE DEPOSITION has this day been filed and served upon opposing

counsel via Peach Court E-File.

       This the 29th day of September, 2021.

                                           McLAIN & MERRITT, P.C.



                                           /s/ Ernest L. Beaton, IV
                                           Ernest L. Beaton, IV
                                           Georgia Bar No. 213044
                                           Attorney for Defendant
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ebeaton@mmatllaw.com
        Case 1:21-cv-05196-SCJ Document 1-2 Filed 12/21/21 Page 81 of 83
                                                                                       EXHIBIT B
                                                                                            CLERK OF STATE COURT
                                                                                          FORSYTH COUNTY, GEORGIA
                                                                                            20SC-1653-A
                        IN THE STATE COURT OF FORSYTH COUNTY                          Judge Leslie Abernathy-Maddox
                                   STATE OF GEORGIA                                       NOV 05, 2021 11:59 AM


PRISCILLA HURTADO,                                      Civil Action File No.
                                                        20SC-1653-A
                Plaintiff,
v.

WAL-MART STORES EAST, LP,
D/B/A WALMART #5735,
JOHN DOE AND
XYZ CORPORATION,

                Defendants.
                                  /

                       FIFTH AMENDED NOTICE OF TAKING REMOTE
                           DEPOSITION OF PRISCILLA HURTADO

        YOU ARE HEREBY notified that beginning on the 18th day of January, 2022,

commencing at 10:00 a.m., the remote deposition will be taken of PRISCILLA HURTADO.

Said deposition will be taken for purposes of discovery and all other purposes provided by law

before an officer duly authorized to administer oaths. The deposition shall continue from day-to-

day until completion and will be taken upon oral examination pursuant to the provisions of

utilizing the secure web-based deposition option or video teleconferencing (VTC) via ZOOM

services offered by Elizabeth Gallo Court Reporting, LLC or telephonically to provide remote

access for the witness and all parties so they may each participate in the depositions remotely via

the internet and/or telephone. The deposition will be taken before a court reporter to be provided

by Defendant, which court reporter will also participate remotely via one of the options above for

the purposes of reporting the proceeding, as well as swearing in the deponent.

        All parties who wish to participate in the Web Deposition are instructed to contact the

noticing attorney at least five (5) calendar days prior to the depositions to advise that it is their

desire to appear via this remote participating means so that the necessary credentials, call-in
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                                                                                     EXHIBIT B


numbers, testing and information, if necessary, can be provided to you prior to the proceedings.

In addition, we also reserve the right to utilize instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to their writing of same

on one’s laptop, iPad, tablet or other type of display device connected to the court reporter.

                                                      McLAIN & MERRITT, P.C.


                                                         /s/ Ernest L. Beaton, IV
                                                      Ernest L. Beaton, IV
                                                      Georgia Bar No. 213044
                                                      Attorneys for Defendant
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing FIFTH AMENDED NOTICE OF

TAKING REMOTE DEPOSITION has this day been filed and served upon opposing counsel

via Peach Court E-File.

       This the 5th day of November, 2021.

                                             McLAIN & MERRITT, P.C.



                                             /s/ Ernest L. Beaton, IV
                                             Ernest L. Beaton, IV
                                             Georgia Bar No. 213044
                                             Attorney for Defendant
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